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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )             CASE NO. 8:07CR32
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )                    ORDER
                                            )
ENOCH PITTMAN,                              )
                                            )
             Defendant.                     )

      This matter is before the Court on a third party’s request for a transcript (Filing

No. 73).

      The request for a transcript of the sentencing hearing held on January 14, 2008, is

granted, provided the third party contacts Brenda Fauber, 118 S. 18th Plaza, Suite 3129,

Omaha, NE 68102, and makes financial arrangements for preparation of the transcript.

      IT IS ORDERED that the third party’s request for a transcript (Filing No. 73) is

granted under the conditions described above.

      DATED this 10th day of June, 2008.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
